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                           UNITED STATES DISTRICT CO URT
                           SO UTH ER N D ISTR ICT O F FLO R ID A
                             CASE NO :20-24721-CV-UN GARO



           Plaintiff,



  D IGITA L IN CO M E SY STEM ,

            D efendant.



      O R D ER SETTIN G IN ITIAL PLA NN IN G A N D SCH ED U LIN G C O NFEREN C E


        THIS CAUSE ishereby settingforan InitialPlanning and Scheduling Conferencebefore

 the HonorableU rsula U ngaro,attheU nited States Couthouse,400 N .M iam iA venue,12th Floor,

 Courtroom 4,M iam i,Florida,on JAN UA R Y 4, 2021 at9:30 a.m .

        CounselforthePlaintiffts)isinstructed toprovidecopiesofthisorderto a11counselof
 record and to any unrepresented pal-tiesthathave appeared in the case. Pursuantto Fed.R .CiV.P.

 26(: andLocalRule16.1B,thepartiesarejointlyresponsibleforconferringtodevelopaproposed
 discovery plan;thereafter,thepaMies are to file and serve a JointPlanning and Scheduling Report,

 togetherwith aproposed SchedulingOrder,andanattachedservicelistincludingtheparties'nam es,

 phone num bers and facsim ile num bers. The report and proposed order m ust be filed by

 D ECEM B ER 11,2020 and m ustrecitethe follow ing:

               A plain statem entofthe nature ofthe claim and any counterclaim s,cross-claim s,or
               third-party claim ,including the am ount of dam ages claim ed and any other relief
               sought.

               A briefsum m al'y ofthe factswhich are uncontested orwhich can be stipulated to
               w ithoutdiscovery.
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               A briefsumm ary oftheissuesaspresentlyknown.

               W hetherdiscovery shouid be conducted in phasesorlimited to particularissues.

               A detailed schedule ofdiscovery for each party.

               Proposeddeadlinesforjoinderofotherpartiesandtoamendthepleadings,tofileand
               hearmotionsand to completediscovery.

               Proposed approxim atedatesforfinalpre-trialconferencesand trial.

        8,     Theprojectedtimenecessaryfortrialandastatementofwhetherthecaseisjuryor
               non-jurytrial.
               A listofal1pending m otions,w hethereach m otion is(tripe''forreview ,thedateeach
               m otion becameripe,andasumm aryoftheparties'respectivepositionswith respect
               to each ripem otion.

        1O.    Anyuniquelegalorfactualaspectsofthecaserequiring specialconsiderationbythe
               Court.

               A ny potentialneed forreferences to a kpecialm asterorm agistrate.

               The status and likelihood ofsettlem ent.

               SuchothermattersasarerequiredbyLocalRule 16.1(B)andasmayaidtheCourt
               in setting the case forstatus orpretrialconference and in the fairand expeditious
               administration and disposition ofthisaction.

                                   SER V ICE O F PR O C ESS
        N ohvithstanding the provisions ofFederalR ule ofC ivilProcedure 4,the Plaintiff is
 ordered to serve and file returns ofservice on allDefendants prom ptly and atIeastno later
 than 14 days prior to the Planning and Scheduling Conference. In the event any D efendant
 rem ains unserved by thatdate,Plaintiffm ustinclude in the JointPlanning and Scheduling
 R eport a detailed explanation sufficient to show good cause f0r the failure to effectservice.
 lfPlaintifffailsto provide a sufficientexplanation,the unserved D efendantw illbe dism issed
 from the action w ithoutfurther notice.

                      ELECTR O NIC AL LY STO R ED INFO R M A TIO N
        Ifthepal-tiesanticipatethatelectronicallystoredinformation(''ESI'')willberelevanttothe
 parties'claim s and defenses, they m ust engage in discussions and arrive at a plan, w hich is
 proportionalandreasonablein relation tothenature and com plexity ofthecase,forthepreselwation,
 identification,and production ofESI.Theplan shallbe separately subm itted to theCourtatthetim e
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 offiling theproposed Scheduling OrderforCourtapproval.
         In form ulating a plan,the parties shallinclude,ifnecessary to the case,theirstipulation
 regarding the specification ofthe formatsin which docum ents are to be produced,the m etadata
 fields,ifany,thatwillberequested,them ethodsbywhichresponsivedocum entswillbeidentified,
 theproceduresthey willemploy toprotectclaimsofprivilege,and otherl'equirements,conditions
 orprovisionsthatthepartiesbelievearenecessarytofacilitateandexpediteESldocum entdiscovery,

        W ithrespecttoinitialdisclosuresrequiredunderFed.R.Civ.P.26(a)(1)-(2),pursuantto
 Rule26(a),thedisclosuresmustbemadeatorbeforethetimethepaliesconferto develop the
 discovery plan.Thepaliesmustcertify in theJointScheduling Repol'tthatsuch disclosureshave

 beenmadeunlessapartyobjectsduringtheconferencethattherequireddisclosurets)isnot
 appropriateinthecil-cumstancesoftheactionandfilesanobjectiontothespecificdisclosurets)with
 theCoul-t.Suchobjectionsmustbefilednolaterthanfifteen(15)dayspriortothelnitialPlalming
 andScheduling Conferenceandmustincludeafullexplanationofthebasisfortheobjections.
        Absentpriorperm ission ofthe Court,neitheram otion and itsincorporated mem orandum

 oflaw noran opposing m em orandum oflaw shallexceed 6,000 words,and no reply m em orandum

 shallexceed 3,000words.A1lpapersfiled withtheCourtm ustincludeacertificatebytheattorney,

 oranunrepresentedparty,thatthedocumentcomplieswiththetype-volumelimitation.Theperson

 preparing the certificate m ay rely on the w ord countofthe w ord-processing system used to prepare

 the docum ent. The certiticate m uststate the num ber ofw ords in the docum ent. ln com puting any

 lengthlimitation,headings,footnotes,andquotationscounttowardthelimitbutthefollowing item s

 donot:coverpage'
                ,disclosurestatement'
                                    ,tableofcontents'
                                                    ,tableofauthorities'
                                                                       ,addendum containing

 statutes,rules,orl-egulations;certiticatesofcounsel;signature block;and proofofservice.

        In the eventthatm otions arepending before the Courtatthe tim e ofthe C onference,the

 partiesshallbeprepared to argue,attheCourt'sdiscretion,them eritsofsuch motions.

        In the eventtheCourtissues a Scheduling Ordçrpriorto ttlelnitialPlanning and
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 Scheduling Conference based on the inform ation provided by the parties in their Joint

 Planningand SchedulingR eport,theC ourtw illnotify thepartiesw hetherthe Conferencew ill

 be canceled.

        DONEANDORDEREDthis /l dayofxovember2020 atM iam i,Florida.
                                                              ,




                                         UR SU LA U N G A R O
                                         UN ITED STA TES D ISTR I T JUD G E

 cc:a11counselofrecord
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         C ourtroom R ules and Procedures due to C O V lD -19

 The follow ing rules are in effectforthis courtroom :

     1.A 11personsM U ST rem ain outside the courtroom untilthe case you
       are here for is called.

    2.A11personsabovetheageoftwo (2)yearso1d M UST wearamask.
    3.Al1personsM U ST m aintain asocialdistanceofsix (6)feetfrom
       non-household m em bers.

    4.lfyou w ould like othersto attend theproceeding,and because a11
       proceedingsareopen tothepublic,pleasecontactthejudge's
       courtroom deputy to obtain additionalinform ation on access to the
       courtroom .

    5.Failure to com ply w ith any ofthese rulesm ay resultin the
      im m ediate rem ovalfrom the courtroom .

    6.For additionalinform ation regarding C O V lD -19 and the Southern
      D istrictofFlorida,please visitourw ebsite at
      w w w .:sd.uscouls.gov/coronavirus

    7.lf during your visityou w itness any concerns and/or issues
       regarding 0OVlD-19,pleasegoto ourwebsiteat
       ww .isd.uscouds.gov/coronavirus to subm ityourconcerns.
